            Case 4:02-cr-40078-JPG                     Document 964 Filed 10/20/09                     Page 1 of 3               Page ID
~AO 2450                                                         #1301
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT
                                                          Southern District of Illinois                                     ~~
         UNITED STATES OF AMERICA                                        Judgment in a       Criminal~ OC;                                 ~<:>
                    v.                                                   (For Revocation of Probation or S~~0 Reled,
             MICHAEL MUNSELL                                                                               ~-1t.~    /&-
                                                                                                               6>~A.oI.s D/~         -"f(V
                                                                                                           'YJ: l'1? }'~t.
                                                                         Case No.       4:02CR40078-013-JPG 0",. otp>"oC')' C'
                                                                                                                            " /:'. • ,('   1),/

                                                                         USM No. 05798-025
                                                                                                                                Ie:~"~'Ai.~~.f'
                                                                                                                                                  (,\"
                                                                           Judith A. kuenneke, AFPD
                                                                                                   Defendant's Attorney
THE DEFENDANT:
tv' admitted guilt to violation of condition(s)         as alleged below                   of the term of supervision.
o   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                               Violation Ended
Statutory                       Defendant committed offense of Driving on Suspended Lic.                       06/26/2008


Statutory                       The defendant tested positive for Cocaine                                      09/03/2009


       The defendant is sentenced as provided in pages 2 through _---'3~_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8905

Defendant's Year of Birth:         1972

City and State of Defendant's Residence:
Johnston City, IL 62951
                                                                                                                         District Judge
                                                                               ,/')()             Name and Title of Judge

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AO 245D                                                        #1302
          (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet lA

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DEFENDANT: MICHAEL MUNSELL
CASE NUMBER: 4:02CR40078-013-JPG

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Standard # 3                  The defendant failed to provided truthful information to probation              09/03/2009



Standard # 10                 The defendant failed to allow probation to visit him at his home                09/03/2009



Special                       The defendant used alcohol while enrolled in a substance abuse program          09/02/2009
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  AO 245D                                                         #1303
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                               Judgment -   Page _..;3~_ of       3
  DEFENDANT: MICHAEL MUNSELL
  CASE NUMBER: 4:02CR40078-013-JPG


                                                                 IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
36 months




      t/ The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in the Intensive Drug Treatment Program.




      t/ The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at ___________________ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                        RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                  to

 at   ____________________________ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                           By
                                                                                        DEPUTY UNITED STATES MARSHAL
